                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF MISSOURI
                                       EASTERN DIVISION

UNITED STATES OF AMERICA,                         )
                                                  )
           Plaintiff,                             )
                                                  )
      v.                                          ) No. 4:12CR472 RWS
                                                  )
MICHAEL SMITH, et al.,                            )
                                                  )
           Defendants.                            )

                                               ORDER

                 This matter is pending before the undersigned pursuant to 28 U.S.C. § 636(b) for

pretrial matters.       After the completion of a mental health evaluation, the undersigned set a

competency hearing for October 2, 2013. At the hearing, the parties requested that the undersigned

take the competency matter under submission for a period of thirty (30) days so that the Defendant

could meet with the Pretrial Services Office to make arrangements for participation in a mental health

program. The undersigned granted the request, and set a hearing for November 6, 2013 to check the

status of Defendant’s progress. At the hearing, the parties requested a two-week continuance in

order to have an opportunity to be fully briefed by Pretrial Services on Defendant’s progress in the

mental health program. The undersigned granted the request on the record, and reset a hearing for

two weeks.

                 Further, based on the above, the undersigned believes that the ends of justice served

by allowing additional time for the Defendant to participate in a mental health program outweigh the

best interest of the public and the Defendant in a speedy trial, and therefore, the additional time

granted in this matter should be excluded from computation of the Defendant’s right to a speedy trial

pursuant to 18 U.S.C. § 3161(h)(1)(A).
              Accordingly,

              IT IS HEREBY ORDERED that the oral request of the parties to continue the

hearing for two weeks be GRANTED.

              IT IS FURTHER ORDERED that a status hearing be set on Wednesday,

November 20, 2013 at 1 p.m. in Courtroom 15-South.



                                        /s/ Terry I. Adelman
                                  UNITED STATES MAGISTRATE JUDGE

Dated this   14th day of November, 2013.




                                           2
